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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    LUFKIN DIVISION

UNITED STATES OF AMERICA                       :
                                               :       CRIMINAL NO. 9:05-CR-42
 v.                                            :
                                               :       JUDGE RON CLARK
CHRISTOPHER SHANE MILIKAN                      :
                                               :




       MEMORANDUM OPINION AND ORDER ON MOTION TO SUPPRESS

                                       INTRODUCTION

       Acting on a tip, Lieutenant Anthony Lowrie, Sergeant Howard Smith, and Deputy Martin

Dubose went to the motel room at which Defendant Christopher Milikan was staying with co-

defendants Kerrie Arnett and John Benge. The officers knocked on the door and Ms. Arnett

answered. When Sgt. Smith said “sheriff’s department” Arnett tried to leave, but was prevented

from doing so by Lt. Lowrie.

       The officers saw a case, which they describe as a gun case, and saw Milikan pick up what

appeared to be a glass pipe, drop it, and kick it under the bed. Benge came out of the bathroom and

immediately turned to go back in. The officers entered the room, placed Milikan and Benge in

handcuffs, and conducted a brief protective sweep of the room, the bathroom, and the adjoining

room. Lt. Lowrie then talked with Arnette outside and obtained verbal and written consent to search

the room.




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       Milikan moved to suppress various statements and items of evidence found as a result of the

search. Because the officers questioned Milikan after he was in custody, without giving him any

Miranda warning, the motion is granted as to Milikan’s statements that he had, in his pockets,

methamphetamine and the key to the case in which a rifle was found. The Government did not meet

its burden of establishing an exception to the requirement to obtain a warrant before opening the

locked case. Therefore evidence of the rifle must be suppressed, especially in view of the fact that

the key to the case was obtained from Milikan as the result of questioning without a Miranda

warning. The drugs, drug paraphernalia, receipts, and counterfeit currency found in the room were

obtained as a result of Arnett’s consent to search and will not be suppressed. Milikan’s videotaped

statement and written statement were given after he was properly informed of his rights and will not

be suppressed.

                                            ANALYSIS

       The analysis of Defendant’s motion as to the bulk of the evidence, found pursuant to Arnett’s

consent to search, is based on long established precedent and was set out by the court on the record

at the hearing.1 However, certain issues, especially whether the officers violated Defendant’s rights

by entering the room in the first place, justify further exposition.

                      Was Warrantless, Non-consensual Entry Justified?

       The first issue is whether the officers violated Milikan’s rights by entering the room without

a warrant. Lt. Lowrie credibly testified that he received a tip that a woman and two men were in the

hotel room with drugs, counterfeit currency, stolen weapons, and that one of them was acting “very



       1
        The court stated its findings of fact in detail at the hearing. Only those facts necessary
for an understanding of the issues considered in this memorandum will be repeated.

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strange, like as if he was already high on something.” The informant’s reliability was not such that

a warrant could be obtained on the tip alone, so Lt. Lowrie decided to conduct a “knock and talk.”

       This procedure, in which an officer knocks on a person’s door and asks to speak with them,

and to enter the residence has been approved, so long as it is not used as a means of avoiding the

need to obtain a warrant. United States v. Jones, 239 F.3d 716, 721 (5th Cir. 2001) . As in Jones,

the officers did not know that criminal activity was occurring. While they had been told that the

inhabitants of the room had stolen weapons, the officers did not act as though they believed there

was a serious possibility of danger.

       They walked up to the door, grouped together, without body armor, with weapons holstered,

and without backup. One might argue that this was not the safest approach, given the tip they had

received, but the court must rule on the constitutionality of their conduct, not on the tactical

soundness of their approach. The court finds the officers’ stated reasons for going to the room to

conduct a “knock and talk” credible. The court does not find that the officers actually believed that

armed drug dealers awaited them and chose to offer themselves up as targets rather than obtain a

warrant.

       When Arnett opened the door, the officers saw a case, which they thought was a gun case.

Benge was coming out of the bathroom and immediately turned back into it. The officers entered

the room and secured Benge and Milikan. They then conducted a brief inspection for other

occupants who might pose a danger - what is known as a “protective sweep.”

       The reasonableness of their decision to enter and “sweep” requires a balancing of the

intrusion on Milikan’s Fourth Amendment interests against the promotion of legitimate government




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interests. Maryland v. Buie, 494 U.S. 325, 331, 110 S.Ct. 1093, 1096 (1990).2 At the very heart of

the Fourth Amendment is the protection against physical entry of a person’s residence. Payton v.

New York, 445 U.S. 573, 585, 100 S.Ct. 1371, 1379 (1979).3

       So important is the protection of the Fourth Amendment that a warrantless entry and search

“is per se unreasonable, unless the government can demonstrate that it falls within one of a carefully

defined set of exceptions to the Fourth Amendment’s warrant requirement.” United States v. Vega,

221 F.3d 789, 798 (5th Cir. 2000). These exceptions recognize narrowly drawn circumstances in

which a legitimate government interest may outweigh the intrusion on personal privacy in the home.

       “Exigent circumstances,” which cannot have been created by the officers’ actions, is one such

exception. See Jones, 239 F.3d at 719-20. Of the various factors set out in Jones, to assess whether

exigent circumstances exist, two seem determinative in this case. There was a clear possibility of

danger to the officers. They had a tip that weapons were in the room, which had been confirmed by

the case which appeared to be of a type which might hold firearms.4 Benge was retreating to the

bathroom, a location from which he might easily be retrieving a weapon. At that moment, the


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        The Government agreed that, as an authorized overnight guest of Arnett, who rented the
room, Milikan is entitled to the same Fourth Amendment protection in the room as he would
have in his house. See Minnesota v. Olson, 495 U.S. 91, 98-99, 110 S.Ct. 1684, 1688-89
(1990).
       3
         “The point of the Fourth Amendment . . . is not that it denies law enforcement the
support of the usual inferences which reasonable men draw from evidence. Its protection
consists in requiring that those inferences be drawn by a neutral and detached magistrate instead
of being judged by the officer engaged in the often competitive enterprise of ferreting out crime.”
445 U.S. at 586, 100 S.Ct. at 1380 n.24 (quoting Johnson v. United States, 333 U.S. 10, 13-14,
68 S.Ct. 367, 369 (1948)
       4
         Of course the presence of a firearm, by itself does not create an exigent circumstance, if
there is no reason to believe the suspect is aware of police surveillance. Jones, 239 F.3d at 720.
In this case the occupants obviously knew the officers were there.

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officers had no time to reflect, retreat and seek a warrant, or stand at the door asking for consent to

enter.

         The court is not going to hold that these officers, in a situation which reasonably might be

expected to erupt into sudden gunfire, violated the Fourth Amendment by entering the room and

securing Milikan and Benge, or by quickly inspecting the bathroom and adjoining room. At the

point they entered, the officers had probable cause to believe that criminal activity was occurring,

and exigent circumstances existed in the need to ensure the officers’ safety. See Kirk

 v. Louisiana, 536 U.S. 635, 638, 122 S.Ct. 2458, 2459 (2002).

         Admittedly, the question of exigent circumstances is a close one. Where officers’ actions

indicate they have a reasonable belief that a crime is being committed, for example by having been

engaged in surveillance, having information from reliable sources, calling in a SWAT team, or by

approaching in tactical formation or with weapons drawn, a court is likely to find the exigency was

created by the officers. See Vega, 221 F.3d at 798-800 (5th Cir. 2000). As noted above, that was

not the situation here. The court therefore concludes that Milikan’s rights were not violated by the

entry into the room, nor by the protective sweep.

             Is the Methamphetamine or the Key in Milikan’s Pockets Admissible?5

Dickerson Patdown Theory

         Lt. Lowrie testified that the first thing he did after obtaining Arnett’s consent to search the

room was take Milikan out of the room and pat him down. Such a search is permitted without a

warrant, but is limited to that which is necessary to protect the officer from a hidden weapon.


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        Since the methamphetamine, marihuana, and counterfeit currency discovered in the room
were not suppressed, the suppression of the three grams in Milikan’s pocket may have little effect
on a determination of guilt or innocence or, if convicted, on any sentence.

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Minnesota v. Dickerson, 508 U.S. 366, 373, 113 S.Ct. 2130, 2136 (1993). If the officer determines

from this patdown or “feel” that there is probable cause to believe a nonthreatening item is illegal

contraband, seizure is lawful. 508 U.S. at 376, 113 S.Ct. at 2137. Of course, since this is an

exception to the warrant requirement of the Fourth Amendment, the burden of proof is on the

Government.

       Lt. Lowrie said he felt “a small lump” in Milikan’s pocket, and that it “was immediately

apparent to me that it was going to be some type of narcotic.” Unfortunately, Lt. Lowrie gave no

details which might distinguish the lump from lawful items such as tobacco or candy. While hard

compact packages taped to ankles are unusual, see United States v. Craft, 30 F.3d 1044, 1045 (8th

Cir. 1994), a lump in a man’s pocket is not.

       The court was evidently supposed to rely solely upon Lt. Lowrie’s experience and accept his

conclusory statements. However, in addition to not giving much of a description of the item in the

pocket, Lt. Lowrie never testified about how many pat down searches he had conducted, nor what

actual training he had in distinguishing between legal and illegal items in a pocket. Also telling is

the fact that when he felt the “small lump” which was “immediately apparent” as “some type of

narcotic,” Lt. Lowrie asked “what was this” and “how much it was going to be.” If he knew, why

did he ask?

       The Government simply failed to meet its burden of proof. The Lieutenant’s unsupported,

conclusory statement is not credible enough, nor sufficient for the court to find it more likely than

not that the incriminating nature of the lump was apparent so as to give probable cause for its




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seizure.6 Lt. Lowrie did not find the key to the case during the patdown so it need not be considered

at this point.

Milikan’s Statements About the Methamphetamine and Key

          The next question is whether officers were allowed to question Milikan about the lump in

his pocket, or the key without informing him of his right to be silent. Three officers had suddenly

burst into Milikan’s motel room, placed him on the ground, handcuffed him, and forced him from

his motel room (his house for Fourth Amendment analysis) onto a balcony. He was first questioned

while an officer’s hand was exploring his pockets and thighs.

          The court finds that Milikan was in custody for Miranda purposes. See Stansbury v.

California, 511 U.S. 318, 322-23, 114 S.Ct. 1526, 1529 (1994) (determination of custodial status

depends on objective circumstances of interrogation, not on subjective views of officer). Whether

Lt. Lowrie believed that Milikan had committed a crime is not pertinent to the question of custodial

status. However, and this could have been more clearly expressed by the court at the hearing,

whether the officer is addressing the suspect, and asks him a question intended to elicit an

incriminating response, may be considered in determining whether the statement is voluntary or is

the result of interrogation. Rhode Island v. Innis, 446 U.S. 291, 300-01, 100 S.Ct. 1682, 1689

(1980).

          Lt. Lowrie specifically asked Milikan what the lump was and how much it was. The court

finds these were questions intended to elicit an incriminating response. Since Milikan was in

custody, and had not been informed of his right to remain silent, his responses are not admissible.

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        The fact that the lump turned out to be methamphetamine is no answer. “We found
dope” is not an exception to the protection Americans are privileged to enjoy under the Fourth
Amendment.

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        Lt. Lowrie said that he found a locked case in the room and instructed Deputy Dubose to

“ask the two male subjects where the key was.” Deputy Dubose testified that the Lieutenant’s

question was directed to Milikan, Benge, and himself, and that he, Dubose, did not inform either

man of his rights. Milikan responded that he had the key, so Deputy Dubose retrieved it from his

pocket. As noted above, Milikan was in custody. Lt. Lowrie thought there was a firearm in the case,

so the question was asked to elicit an incriminating response. Milikan’s statement that he had the

key is not admissible.

                                  The Rifle in the Locked Case

       When the door opened the officers saw a case, which they thought was a gun case. As

discussed above, this was enough, when combined with the tip and the sight of Benge retreating into

the bathroom, to enter the room. However, once Benge and Milikan were handcuffed, and under

guard on the balcony, exigent circumstances no longer existed. There was plenty of time to obtain

a warrant - the case wasn’t going anywhere, and the officers testified that magistrates were readily

available. The Government relies upon the plain view exception to justify opening the locked case

without consent or a warrant

       A legitimate expectation of privacy is manifested by an individual who places an item in a

locked, opaque container that conceals its contents from view. United States v. Ross, 456 U.S. 798,

822, 23, 102 S.Ct. 2157, 2172 (1982). There is an exception when the case is obviously a gun case.

See United States v. Villarreal, 963 F.2d 770, 775-76 (5th Cir. 1992) (noting that the logic of

Arkansas v. Sanders, 442 U.S. 753, 764, 99 S.Ct. 2586, 2593, n.13 survives the subsequent

overruling of that case).




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       An example of such obviousness is found where the case had the label “GUN GUARD.”

See United States v. Meada, 408 F.3d 14, 23 (1st Cir. 2005). A similar label, the logo of a firearm

manufacturer, or a case with the distinctive shape of a firearm might also bring a locked case under

the plain view exception. The burden is on the Government to provide sufficient evidence of the

appearance of the case.

       Lt. Lowrie first testified that he saw a “silver gun case.” Later he said he knew it was a gun

case because he had hunted all of his life and had been “in and out of Wal-Mart, Academy, several

stores, sporting good stores that sell these type of gun cases.” At this point no evidence had been

offered to distinguish the appearance of this case from that of any number of cases. Therefore the

court asked “am I going to get a description of this case other than that? Is there going to be a

photograph or something?”

       This elicited the information that “It’s a rifle size gun case. It’s like a silver color, chrome

color, real bright finish and it’s a hard –it’s a hard case with a locking mechanism on it.” The

problem is that a “rifle size” case made for two rifles or shotguns is about the same length and width

as a case for an electric guitar. Narrower cases are sold to transport expensive fishing rods and

certain musical instruments. The court acknowledges that one might be able to distinguish between

such cases, especially on the basis of depth and weight, if such evidence was provided.

Alternatively, a photograph, or an examination of the case itself, might suffice. The court need not

decide that issue, since the Government declined the court’s invitation to completely describe the

case. The court does not find Lt. Lowrie’s testimony about hunting and frequenting sporting goods

stores sufficient to establish his expertise to the point that his bald assertion is credible enough to

show, by a preponderance of the evidence, that this was a gun case.


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        There is insufficient evidence that Arnett had any control over, or ownership interest in the

 case, or any authority to consent to a search of Milikan’s locked case. She did not even know where

 the key was. The court has already discussed the reasons that the seizure of the key from Milikan

 was the result of improper interrogation. The Government has failed to present evidence to support

 its claimed exceptions to the warrant requirement. The rifle is not admissible under the Sanders

 “plain view” exception.

                                  Inevitable Discovery Theory

        The government also claims that an inventory search would have led to the “inevitable

 discovery” of the methamphetamine and key in Milikan’s pocket and the rifle in the case. The

 Government has the burden to prove both:

               1. A reasonable probability that the contested evidence would have be
        discovered by lawful means in the absence of police misconduct; and

                2. That the Government was actively pursuing a ‘substantial alternate line of
        investigation at the time of the constitutional violation.’

 United States v. Kirk, 111 F.3d 390, 392 (5th Cir. 1997).

        As to the contents of Milikan’s pockets, the Government made a start on meeting its burden.

 Lt. Lowrie was asked:

        Q. Now, once an individual is under arrest, what is the normal policy when you
        arrest him? Do you conduct an inventory of the person or the person’s personal
        belongings? What do you normally do? (emphasis added)

        A. Yes. Before he’s placed in the patrol vehicle, everything is gone through as far
        as his shoes and his pockets and everything to make sure there is no other contraband
        that he could smuggle into the patrol car and possibly further smuggle into the
        correctional facility.

 This a general response to a general question. There was no followup to establish that such a policy



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 was followed in this case - that Milikan was searched. There was no testimony that this was a

 “normal” search or arrest. To the contrary, the circumstances seem somewhat out of the ordinary,

 given that the Government must rely upon exceptions to the Fourth Amendment for every piece of

 evidence recovered, to say nothing of the initial entry.

         There was no statement that the search Lt. Lowrie described was the routine practice of the

 organization, or of Lt. Lowrie, or was some other officer’s personal practice. The court does not

 accept this bare statement alone, in response to a leading question months after the event, as

 establishing, by a preponderance of the evidence, a habit of an organization or an individual under

 Fed. R. Evid. 406.

         Also telling is the fact that if an inventory search had been done, it would have been so easy

 to prove. The Government would have submitted a copy of the jail inventory sheet, prepared when

 Milikan was booked into the jail. Alternatively one of the three officers who testified would have,

 at least briefly, described the inventory search of Milikan. There was no mention at all of an

 inventory of the room. The Government failed to meet its burden of proving that the evidence in

 question would have been discovered by lawful means.

         Additionally the Government has presented no evidence that it was actively pursuing a

 “substantial alternate line of investigation at the time of the constitutional violation.” As noted there

 was no evidence that an inventory search was actually conducted. The officers agreed that

 magistrates were easily available to issue warrants, yet no application had been made. Contact with

 the Defendants was initiated on a tip of questionable reliability, and exploded into an actual

 investigation because of rapidly unfolding exigent circumstances. There were no other




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 investigations being conducted. The inevitable discovery exception does not render the rifle, or the

 contents of Milikan’s pockets, admissible.

                                          CONCLUSION

        It is therefore ORDERED, for the reasons stated above, that while the motion to suppress

 all of the evidence on the basis of the warrantless entry into the room or the protective sweep, is

 DENIED, the motion to suppress the rifle, the contents of Defendant Milikan’s pockets, and the

 referenced statements made by defendant Milikan at the motel is GRANTED.

        It is further ORDERED, for the reasons stated on the record, that the motion to suppress the

 methamphetamine discovered in the room, the drug paraphernalia, the marihuana, the receipts, the

 counterfeit currency, the videotaped statement at the station, and the written confession is DENIED.

 So ORDERED and SIGNED this 19 day of December, 2005.




                                               ___________________________________
                                               Ron Clark, United States District Judge




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